Case 13-25272-VFP       Doc 45   Filed 05/12/15 Entered 05/12/15 15:46:42          Desc Main
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Richard A. Epstein, P.C.
RE5186                                                         Order Filed on May 12, 2015
2 Bucks Lane                                                   by Clerk
                                                               U.S. Bankruptcy Court
Marlboro, NJ 07746                                             District of New Jersey
(732) 303-8599
Attorney for Emigrant Mortgage Company, Inc.
and Retained Realty, Inc.


                        UNITED STATES BANKRUPTCY COURT

                           DISTRICT OF NEW JERSEY
________________________________
                                 : Case No. 13-25272 (DHS)
In the Matter of:                : (Chapter 11)
                                 :
Calm Development, Inc.           :
                                 :
                                 :
                  Debtor         :
________________________________:


     ORDER DENYING DEBTOR'S MOTION TO REOPEN BANKRUPTCY CASE


       The relief set forth on the following page numbered two (2) is hereby ORDERED.




 DATED: May 12, 2015
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Debtor: Calm Development, Inc.
Chapter 11 Case No. 13-25272 (TBA)
Caption: ORDER DENYING DEBTOR'S MOTION TO REOPEN BANKRUPTCY CASE

       The Debtor having filed a motion to reopen and reinstate this Bankruptcy case and

Emigrant Mortgage Company, Inc. and Retained Realty, Inc. having filed opposition to the

motion, and the Court having heard oral argument of the motion on April 28, 2015, and for good

cause shown, it is hereby

       ORDERED, that the Debtor's motion to reopen and reinstate this Bankruptcy case is

denied for the reasons set forth by the Court on the record.




                                                  2
